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 3
                                  UNITED STATES DISTRICT COURT
 4                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 5

 6
     UNITED STATES OF AMERICA,
 7
                 Plaintiff(s),                                 CR02-423C
 8
          vs,
 9                                                             ORDER APPOINTING COUSEL
     RICHARD E. MARKS,
10
                 Defendant(s).
11

12
         (1)    Defendant filed a Motion to Appoint Counsel for an appeal of his conviction in the above
13
                captioned case. (Dkt No. 1112). The motion was referred to Judge Benton by the
14
                Honorable John C. Coughenour, United States District Judge. (Dkt. No. 1115).
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         (2)    The defendant’s motion is GRANTED.
16
         (3)    The Clerk is directed to send a copy of this Order to Criminal Justice Act panel and to the
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                Honorable John C. Coughenour.
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         DATED this 23rd Day of May, 2005.
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23
                                                      A
                                                      Monica J. Benton
24                                                    United States Magistrate Judge
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